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7                                   UNITED STATES DISTRICT COURT

8                                 SOUTHERN DISTRICT OF CALIFORNIA

9    HTC CORPORATION AND HTC AMERICA,                        Case No.: 18cv2427-LAB (BLM)

10                                         Plaintiffs,       ORDER SETTING BRIEFING SCHEDULE

11   v.

12   TELEFONAKTIEBOLAGET LM ERICSSON AND
     ERICSSON, INC.,
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                                        Defendants.
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            On October 22, 2018, Plaintiff filed “HTC’s MOTION TO COMPEL RULE 45 PRODUCTION
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     AND RULE 30(b)(6) TESTIMONY FROM QUALCOMM.” ECF No. 1. Counsel for Plaintiffs, Mr.
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     David Chiapetta, certifies in the motion that it “was filed electronically in compliance with Local
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     Rule 5.4(c).” Id. at 8. Mr. Chiapetta further certifies that “[a]ll other counsel of record not
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     deemed to have consented to electronic service were served [on October 18, 2018] with a true
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     and correct copy of the foregoing by certified mail, return receipt requested.” Id. Because the
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     motion was only filed yesterday, no party other than Plaintiffs have made an appearance. See
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1    Docket. Accordingly, on or before October 30, 2018, Plaintiffs shall serve a copy of its motion

2    and this Order on Qualcomm, Inc. and all Defendants.

3           In the motion, Plaintiffs ask the Court to “compel Qualcomm to produce documents

4    responsive to HTC’s narrowed set of requests and designate a corporate representative to testify

5    regarding HTC’s narrowed deposition topics.” Id. at 7. To the extent Plaintiff is asking the Court

6    to grant its request without any further briefing, this request is unreasonable and the Court

7    denies it. However, the Court finds it appropriate to set the following briefing schedule:

8                  1.     Qualcomm, Inc. shall file its opposition on or before November 26, 2018;

9                  2.     If Defendants want to file an opposition or other pleading, they must do so

10                        by November 26, 2018; and

11                 3.     Plaintiffs shall file their reply on December 14, 2018.

12          The parties shall address in their respective briefing the motion to compel compliance

13   and the application of Federal Rule of Civil Procedure 45(f) to this case given that the underlying

14   action is pending in the Eastern District of Texas. See Fed. R. Civ. P. 45(f). Upon completion of

15   the briefing, the Court will take the matter under submission pursuant to Civil Local Rule 7.1(d)

16   (1) and no personal appearances will be required.

17          IT IS SO ORDERED.

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      Dated: 10/23/2018
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